                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 PLANNED PARENTHOOD SOUTH                         )
 ATLANTIC, et al.,                                )
                                                  )
                      Plaintiffs,                 )
                                                  )
 v.                                               )
                                                  )
 JOSHUA STEIN, et al.,                            )          1:23-CV-480
                                                  )
                      Defendants,                 )
                                                  )
 and                                              )
                                                  )
 PHILIP E. BERGER, et al.,                        )
                                                  )
                      Intervenor-Defendants,      )

                          CONSENT ORDER EXTENDING
                        TEMPORARY RESTRAINING ORDER

       Rule 65(b)(2) of the Federal Rules of Civil Procedure provides that temporary

restraining orders “expire[] at the time after entry—not to exceed 14 days—that the court

sets, unless before that time the court, for good cause, extends it for a like period or the

adverse party consents to a longer extension.” Fed. R. Civ. P. 65(b)(2). All Defendants

and Intervenors have consented and agreed to the extension of the temporary restraining

order entered in this case until such time as the Court rules either on Plaintiffs’ motion for

a preliminary injunction, Doc. 11, or on a renewed motion for a preliminary injunction that

Plaintiffs will file by a date to be set by the Court.

       It is therefore ORDERED that the temporary restraining order entered by the Court,

ECF No. 31, is EXTENDED and shall REMAIN in effect until such time as the Court




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rules on either Plaintiffs’ motion for a preliminary injunction, Doc. 11, or on a renewed

motion for a preliminary injunction that Plaintiffs will file by a date to be set by the Court.

       This the 5th day of July, 2023




                                                   UNITED STATES DISTRICT JUDGE




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